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                     EXHIBIT K
           *** Note Exhibit 2 of Exhibit K is a Flash Drive
                   and filed as a multi-media filing
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

    APPLE INC.,

                            Plaintiff,
                                                          Civil Action No. 1:22-cv-01377-MN
                    v.
                                                          JURY TRIAL DEMANDED
    MASIMO CORPORATION and
    SOUND UNITED, LLC,

                            Defendants.


          DECLARATION OF ERIC JUE IN SUPPORT OF APPLE INC.’S MOTION
                          FOR AN EXPEDITED TRIAL

   I, Eric Jue, declare as follows:

          1.      I am over 18 years of age and competent to make this declaration. I am employed

   as a Director of Apple Watch Product Management at Apple Inc. (“Apple”). I have been

   employed by Apple since 2002.

          2.      I provide this declaration in support of Apple’s Motion For An Expedited Trial

   filed in the above-captioned case. The statements in this declaration are based upon my personal

   knowledge. If called to testify as a witness in this matter, I could and would testify competently

   and truthfully to each of the statements in this declaration under oath.

          3.      Apple released Apple Watch in 2015 as one of the earliest full-featured smart

   watches. Apple has continued to invest in Apple Watch, releasing a new generation or “Series”

   annually.

          4.      Apple is an innovative, design-driven company that has worked extensively over

   decades to create a marketing identity that connects Apple as a brand with its unique products.

   Apple markets its products—including Apple Watch—to convey that message. For example,


                                                    1
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   Apple frequently advertises Apple Watch with the product design front-and-center, set against a

   plain background with minimal text, or with simple text describing a key feature or benefit that

   supports the imagery. See, e.g., Ex. 1. Apple has invested heavily in promoting Apple Watch,

   including through multiple major, high-profile advertising campaigns and significant

   expenditures of time, money, and effort. Such investments help establish Apple’s reputation of

   innovation and design.

          5.      Apple has always sought to promote Apple Watch in the most profound and

   compelling ways. That is best done visually. Accordingly, the Apple Watch design—

   particularly its hardware design—is critical. Apple promotes Apple Watch not just as a piece of

   technology, but as a beautiful and thoughtfully designed watch. Its back is thoughtfully designed

   and beautiful, paying homage to the tradition of luxury watches. And Apple has focused

   marketing efforts on the design of the back of Apple Watch.

          6.      The design of the back of Apple Watch has been a focus throughout the product’s

   lifespan. For example, at the Apple Watch Series 4 announcement, the video of which is

   enclosed on a CD as Exhibit 2, Apple placed significant emphasis on the beauty of the back of

   the watch.

          7.      In a promotional video played at the outset of the announcement, Apple

   highlighted the back of Apple Watch, focusing on its design without any technical explanation,

   as shown below:




                                                   2
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           8.      After the video, Apple began the discussion on the Series 4 Apple Watch. Within

   the first few sentences, Apple showed a select few images of Apple Watch, including the back of

   the watch, on a large screen, noting that “[e]very detail has been thoughtfully considered. And

   it’s just beautiful”:




                                                   3
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          9.      When Apple transitioned to discuss the back of Apple Watch specifically, the

   very first statement it made is that “the back of Series 4 is absolutely beautiful,” and

   demonstrated that beauty with another image of the back design:




          10.     Apple Watch’s back design was not only a key at launch. In marketing Apple

   Watch generally, Apple internally utilizes a select few “themes,” including the watch’s “health

   component,” i.e., the watch as a wellness tool. The most visual aspect of Apple Watch’s health

   component is the back of the watch. Accordingly, the aesthetic design of the back has been an

   important pillar in the marketing and success of Apple Watch.

          11.     These are just a few examples of how the beautiful design of the back of Apple

   Watch is a key aspect of its marketing.



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   I declare under penalty of perjury that the foregoing is true and correct.

   Executed on January 18, 2023 in Cupertino, CA.

                                                         Signature_________________________

                                                         Eric Jue




                                                     5
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              EXHIBIT 2
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                            Physical
                             Exhibit
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                      EXHIBIT L
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                     EXHIBIT M
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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


    APPLE INC.,

                       Plaintiff,

                  v.                             Civil Action No. 1:22-cv-01377-MN

    MASIMO CORPORATION and                       JURY TRIAL DEMANDED
    SOUND UNITED, LLC,

                       Defendants.


             DECLARATION OF ALAN D. BALL IN SUPPORT OF PLAINTIFF APPLE INC.’S
                            MOTION FOR AN EXPEDITED TRIAL




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      I, Alan Ball, declare as follows:

   INTRODUCTION

          1.     I have been retained by counsel for Plaintiff Apple Inc. (“Apple”) as an expert in
          the above-captioned matter.

          2.      I understand that Apple has accused Defendants Masimo Corp. and Sound
          United, LLC (collectively, “Masimo”) of infringing U.S. Patent Nos. D883,279 (the “D’279
          patent”), D947,842 (the “D’842 patent”), and D962,936 (the “D’936 patent”)
          (collectively, the “Watch Patents”).1 I understand that Apple has accused Masimo of
          infringing the Watch Patents through unauthorized making, using, selling, and/or
          offering for sale within the United States, and/or importing into the United States,
          Masimo’s W1 watch (“W1” or “Accused Product”).2 I have been asked to perform
          analyses and provide expert testimony regarding whether Masimo infringes the Watch
          Patents and whether the Watch Patents are valid.

          3.     I further understand that Apple has accused Masimo of infringing U.S. Patent No.
          D735131 (the “D’131 patent”).3 I was not asked to analyze or provide expert testimony
          regarding the D’131 patent for purposes of this declaration.

          4.     This declaration accurately reflects a summary of my infringement and validity
          opinions and analyses regarding the Watch Patents in this case to date, based on facts
          and information currently available to me.

          5.       I understand that I may later be asked to supplement, modify, or expand on my
          opinions expressed in this declaration, including for example to provide analysis and
          opinions regarding the D’131 patent and additional analysis and opinions regarding the
          Watch Patents, in accordance with a schedule or any other order of the Court, and/or in
          light of further evidence or information presented or provided to me, the testimony
          and/or opinions of other witnesses, or other information that may be provided by
          Masimo and/or discovered by Apple. I expressly reserve the right to make such
          supplementations, modifications, and/or expansions at a future point in this litigation.

          6.     If called upon to do so, I will offer testimony at trial or otherwise regarding my
          opinions and will offer rebuttal testimony as appropriate throughout the remainder of



   1 Complaint, Dkt. 1.
   2
     Id.
   3
     Id.
                                                   1
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         this proceeding. I may also prepare and present demonstratives at trial that summarize
         and illustrate my opinions and analyses.

         7.     I am being compensated for my work on this case at my standard consulting rate
         of $425 per hour. I am also reimbursed for expenses that I incur. My compensation
         does not depend in any way on the outcome of this case, the results of my analysis, or
         the substance of my testimony.




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   SUMMARY OF OPINIONS

         8.     The following summarizes my current opinions regarding Masimo’s infringement
         of the Watch Patents and the Watch Patents’ validity. I expect to offer additional
         opinions regarding information and/or issues later raised in this matter.

         9.     Relevant background, including regarding smart watch design prior to Apple
         Watch, Apple Watch, the Watch Patents, and Masimo’s W1 is summarized in paragraphs
         66-127 below.

         10.    Apple Watch Series 4-5 embody the D’279 patent design.

         11.    Apple Watch Series 4-5 embody the D’842 patent design.

         12.    Apple Watch Series 4-8 and Apple Watch Ultra embody the D’936 patent design.

         13.     Masimo’s making, using, selling, and/or offering for sale within the United
         States, and/or importing into the United States, the W1 infringes the D’279 patent.

         14.     Masimo’s making, using, selling, and/or offering for sale within the United
         States, and/or importing into the United States, the W1 infringes the D’842 patent.

         15.     Masimo’s making, using, selling, and/or offering for sale within the United
         States, and/or importing into the United States, the W1 infringes the D’936 patent.

         16.    The D’279 patent is not invalid.

         17.    The D’842 patent is not invalid.

         18.    The D’936 Patent is not invalid.

   BACKGROUND AND QUALIFICATIONS

         19.     My qualifications are summarized in my curriculum vitae, which is attached as
         Exhibit 1. I briefly summarize my education, work experience, and other qualifications
         below.

         20.     I am an Industrial Designer and Inventor. I am the founder and president of
         A.B.I.D. Inc. (Alan Ball Industrial Design), an Industrial Design consulting firm. I have over
         35 years of experience as an Industrial Designer, designing products for clients ranging
         from start-ups to Fortune 500 companies. My Industrial Design expertise includes design
         research, product design, human factors (ergonomics), engineering, graphic design,
         packaging design, and user interface design. I am a named inventor of 55 U.S. Design
                                                     3
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         Patents, including multiple directed to handheld computers. I am also a named inventor
         on 11 U.S. Utility Patents. I am an active member of the Industrial Designers Society of
         America (“IDSA”).

         21.     I received a Bachelor of Industrial Design (B.I.D.) from Syracuse University in
         1987. My studies included art and design studio courses, math and physics courses,
         technology and engineering courses, marketing and business courses, and
         psychology/human factors courses. I minored in information science. As part of my
         education, I worked as an Industrial Design intern at Black and Decker in Bridgeport,
         Connecticut, and IBM in Kingston, New York. I designed handheld cleaning, kitchen, and
         lighting products at Black and Decker. I designed human interface devices for
         commercial computer systems at IBM.

         22.      For the past 35 years, I have worked extensively as an Industrial Design
         consultant. During this time, I have been employed as a full-time staff designer in a large
         consultancy, in addition to performing freelance design work. I have founded three
         design consultancies: Altitude Inc., Ziba Boston LLC, and my current company A.B.I.D.
         Inc. I have managed large interdisciplinary design teams and have served as a sole
         design practitioner. In my current position at A.B.I.D., I provide a wide range of
         Industrial Design consulting services to my clients.

         23.    I have many years of Industrial Design and product design experience over a
         broad range of product types including handheld computers, electronics, medical
         equipment, laboratory instruments, power tools, household cleaning products,
         residential and commercial kitchen appliances, toys, industrial products, sports
         equipment, personal care products, and pet products. I have designed products that are
         manufactured by methods that include plastic injection molding, thermoforming,
         pressure forming, rotational molding, blow molding, extrusion, sheet metal fabrication,
         machining, 3D printing, die cutting, stamping, forming, forging and die casting.

         24.     I have received a number of honors and awards throughout my career, including
         three IDSA/BusinessWeek IDEA Gold Awards.




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   MATERIALS CONSIDERED

         25.     In preparing this declaration, I have reviewed the D’279 patent; the D’842
         patent; the D’936 patent; the file history for each patent; physical samples of Apple
         Watch Series 4, 5, 8 and Apple Watch Ultra; images of each Apple Watch Series 1
         through 8 and Apple Watch Ultra; a physical W1 watch; images of W1; the declarations
         of Mr. Peter Russell-Clark, and Mr. Eric Jue; and additional materials cited throughout
         this declaration. Exhibit 2 lists the materials that I have reviewed in forming the opinions
         summarized in this declaration. Citations to references in this report are intended to be
         exemplary and are not intended to convey that the citations are the only source of
         evidence to support the propositions for which they are cited.

         26.    My opinions are further based on my education, training, research, knowledge,
         and experience. In forming my opinions, I have particularly relied on my knowledge and
         experience as an Industrial Designer and as a Product Designer with experience
         designing numerous consumer products.




                                                  5
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   UNDERSTANDING OF THE LAW

          27.    I am not an attorney. For purposes of this declaration, I have been informed
          about certain aspects of the law that are relevant to my analysis and conclusions. My
          understanding of the law is as follows.

                         Design Patents Generally


          28.    I understand that a design patent can be obtained by “[w]hoever invents any
          new, original and ornamental design for an article of manufacture.”4

          29.   I understand that the scope of [a design patent] claim . . . must be limited to the
          ornamental aspects of the design and does not extend to the broader general design
          concept.”5

          30.     I understand that a design patent includes a single claim and that the language of
          the claim is written such that it is directed to the “ornamental design for the article
          (specifying name) as shown, or as shown and described” in the patent specification,
          such as through drawings or figures.6

          31.     I further understand that in a design patent, the drawings may include solid and
          broken lines and that “the solid lines . . . show the claimed design, whereas the broken
          lines show structure that is not part of the claimed design . . . .”7

                         Claim Construction


          32.    I understand that the Court has not issued a claim construction order in this case
          to date.

          33.     I understand that, “[g]iven the recognized difficulties entailed in trying to
          describe a design in words, the preferable course ordinarily will be for a district court
          not to attempt to ‘construe’ a design patent claim by providing a detailed verbal
          description of the claimed design” and that doing so could “risk . . . placing undue
          emphasis on particular features of the design and . . . that a finder of fact will focus on


   4
     35 U.S.C. § 171.
   5
      Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796 F.3d 1312, 1333 (Fed. Cir. 2015) (internal
   citations and quotations omitted).
   6
     37 C.F.R. § 1.153.
   7
     In re Maatita, 900 F.3d 1369, 1372 (Fed. Cir. 2018).
                                                    6
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          each individual described feature in the verbal description rather than on the design as a
          whole.”8 I understand that “as a rule, the illustration in the drawing views is its own best
          description.”9

          34.     Any written description I include of designs or design elements in this
          declaration is solely for purposes of explaining my analyses and conclusions and is not
          intended to change or specify the scope of the claimed designs, nor to suggest any
          particular claim construction or claim construction itself is appropriate or necessary.

                          Design Patent Infringement


                                  Generally – The Ordinary Observer Test

          35.    I understand that to determine whether an accused product infringes a patented
          design, courts apply the “ordinary observer test” stated by the Supreme Court in
          Gorham Co. v. White, 81 U.S. 511, 528 (1872). I understand that, under the “ordinary
          observer test,” “if, in the eye of an ordinary observer, giving such attention as a
          purchaser usually gives, two designs are substantially the same, if the resemblance is
          such as to deceive such an observer, inducing him to purchase one supposing it to be
          the other, the first one patented is infringed by the other.”10

          36.     I understand the ordinary observer is not an expert in the claimed designs, but
          one of “ordinary acuteness” who is an “ordinary purchaser of” or “sufficiently interested
          in” the article that displays the patented designs.11

          37.     I understand that the infringement analysis focuses on the “design as a whole,”
          and not “particular features” of the design.12 Further, I understand that the accused
          product need not be identical to the patented design to infringe.13 “The mandated
          overall comparison is a comparison taking into account significant differences between


   8
     Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 679 (Fed. Cir. 2008).
   9
     Crocs, 598 F.2d at 1303 (quoting Manual of Patent Examining Proc. § 1503.01 (8th ed.2006)).
   10
      Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 670 (Fed. Cir. 2008) (quoting Gorham Co. v.
   White, 81 U.S. 511, 528 (1871)).
   11
      Goodyear Tire & Rubber Co. v. Hercules Tire & Rubber Co., 162 F.3d 1113, 1116 (Fed. Cir. 1998);
   Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796 F.3d 1312, 1337 (Fed. Cir. 2015); Arminak &
   Assocs. v. Saint-Gobain Calmar, Inc., 501 F.3d 1314, 1323 (Fed. Cir. 2007).
   12
      Crocs, Inc. v. ITC, 598 F.3d 1294, 1303 (Fed. Cir. 2010).
   13
      Payless Shoe Source, Inc. v. Reebok Int’l, Ltd., 998 F.2d 985, 991 (Fed. Cir. 1993); Crocs, Inc. v.
   ITC, 598 F.3d 1294, 1303 (Fed. Cir. 2010); Egyptian Goddess, 543 F.3d at 670.
                                                      7
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          the two designs, not minor trivial differences that necessarily exist between any two
          designs that are not exact copies of one another.”14 The critical issue is whether “the
          effect of the whole design [is] substantially the same” as the corresponding portions of
          the accused design.15

                                Comparison of Patented and Accused Designs to Prior Art

          38.     I understand that when the claimed and accused designs are not plainly
          dissimilar, resolution of the question whether the ordinary observer would consider the
          two designs to be substantially the same may benefit from a comparison of the claimed
          and accused designs with the prior art.16 I further understand that the ordinary observer
          is deemed to be familiar with the prior art.17

          39.     I understand that “[w]here there are many examples of similar prior art
          designs . . . differences between the claimed and accused designs that might not be
          noticeable in the abstract can become significant to the hypothetical ordinary observer
          who is conversant with the prior art.”18 I also understand that “[i]f the accused design
          has copied a particular feature of the claimed design that departs conspicuously from
          the prior art, the accused design is naturally more likely to be regarded as deceptively
          similar to the claimed design, and thus infringing. At the same time . . . the ordinary
          observer test does not present the risk of assigning exaggerated importance to small
          differences between the claimed and accused designs relating to an insignificant feature
          simply because that feature can be characterized as a point of novelty.”19

          40.    I understand that an “ordinary observer, comparing the claimed and accused
          designs in light of the prior art, will attach importance to differences between the
          claimed design and the prior art depending on the overall effect of those differences on
          the design. If the claimed design consists of a combination of old features that creates
          an appearance deceptively similar to the accused design, even to an observer familiar
          with similar prior art designs, a finding of infringement would be justified. Otherwise,




   14
      Int’l Seaway Trading Corp. v. Walgreens Corp., 589 F.3d 1233, 1243 (Fed. Cir. 2009).
   15
       Payless Shoesource, Inc. v. Reebok Int’l, Ltd., 998 F.2d 985, 991 (Fed. Cir. 1993) (internal
   quotations omitted, citation omitted).
   16
      Egyptian Goddess, 543 F.3d at 678.
   17
      Id.
   18
      Egyptian Goddess, 543 F.3d at 678.
   19
      Id. at 677.
                                                   8
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          infringement would not be found.”20

                                Accused Product Compared to Patentee’s Commercial
                                Embodiments of Patented Design

          41.      I understand that “[w]hen the patented design and the design of the article sold
          by the patentee are substantially the same,” a comparison of “the patentee’s and the
          accused articles directly” is permissible to assist in the analysis of whether the accused
          products infringe the design at issue.21 I understand that such a comparison will
          facilitate understanding “whether an ordinary purchaser would be deceived into
          thinking that one were the other.”22

                         Validity


                                Presumption of Validity

          42.      I understand that the clams of issued U.S. design patents are presumed to be
          valid. I understand that this presumption of validity applies to the Watch Patents’
          claims.

                                Prior Art

          43.     I understand that a claim is invalid if the claimed design was known or used by
          others in the U.S. or patented or described in a printed publication before the
          applicant’s date of invention. I further understand that a claim is invalid if the design
          was patented or published anywhere, or was in public use, on sale, or offered for sale in
          this country, more than one year prior to the filing date of the patent application. I
          further understand that a design patent claim is invalid if it was described in an
          application for a patent or a patent granted on an application for patent filed by another
          before the applicant’s date of invention.

          44.    I understand that a “printed publication” is a publication that is sufficiently
          accessible to the public interested in the relevant art without restriction, which depends
          on dissemination and accessibility. In other words, the defendant must show that such a
          document has been disseminated or otherwise made accessible to the extent that
          persons interested and ordinarily skilled in the art, exercising reasonable diligence, can


   20
      Id. at 677-78.
   21
      See L.A. Gear, Inc. v. Thom McAn Shoe Co., 988 F.2d 1117, 1125-26 (Fed. Cir. 1993).
   22
      L.A. Gear, 988 F.2d at 1125–26.
                                                   9
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             locate it. It is my understanding that internal documents intended to be confidential are
             not “printed publications,” because such documents would not be readily accessible to
             an interested researcher employing standard research tools to locate them. Accordingly,
             documents that are stored privately and to which access is restricted to only authorized
             persons are not considered “printed publications.” Similarly, even if a document has
             been distributed, it is not necessarily a printed publication if distribution is subject to
             restrictions due to confidentiality, or by a reasonable expectation, based on professional
             or behavioral norms, that a document will not be copied or further distributed.

             45.     I further understand that an invention is “used by others in this country” if the
             use is accessible to the public.

             46.     I understand that a “public use,” may be established by showing a public, non-
             secret, non-experimental use of the design in the United States more than one year
             before the effective filing date of the patent. Use of a design may be public where it is
             exposed or demonstrated to persons other than the inventors, who are under no
             secrecy and where there is no attempt to keep the device from the public.

                                    Anticipation

             47.     I understand that the ordinary observer test discussed in paragraphs 35-37
             above regarding infringement also applies to design patent anticipation. I understand
             that when determining whether a design patent’s claim is invalid based on a description
             in a printed publication, the publication must show the same subject matter as that of
             the patent and must be identical in all material respects.23

                                    Obviousness

             48.     I understand that the central inquiry in analyzing an ornamental design for
             obviousness is whether “the design would have been obvious to a designer of ordinary
             skill who designs articles of the type involved.”24

             49.    I further understand that factors considered in determining whether a design
             patent is obvious include the scope and content of the prior art; the differences
             between the claim and the prior art; the level of ordinary skill in the art; and secondary
             considerations of non-obviousness, which may include commercial success, long-felt
             unmet need, prior failure, licensing, unexpected results, skepticism, industry praise, and



   23
        Hupp v. Siroflex of America, Inc., 122 F.3d 1456, 1461, 43 U.S.P.Q.2d 1887 (Fed. Cir. 1997).
   24
        Durling v. Spectrum Furniture Co., Inc., 101 F.3d 100, 103 (Fed. Cir. 1996).
                                                      10
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          copying.

                                 Functionality

          50.     As stated above, I understand that a design patent protects ornamental design. I
          further understand that “[i]f the patented design is primarily functional rather than
          ornamental, the patent is invalid. However, when the design also contains ornamental
          aspects, it is entitled to a design patent whose scope is limited to those aspects alone
          and does not extend to any functional elements of the claimed article.”25

          51.     I understand that just because an element of a design may also be practiced by a
          particular product in a way that serves a functional purpose, that does not mean that
          the specific design of the element is dictated by functional considerations.26 Rather, I
          understand that “[a] design is not dictated solely by its function when alternative
          designs for the article of manufacture are available.”27

          52.     I further understand that “[w]hen there are several ways to achieve the function
          of an article of manufacture, the design of the article is more likely to serve a primarily
          ornamental purpose.”28 And “if other designs could produce the same or similar
          functional capabilities, the design of the article in question is likely ornamental, not
          functional.”29

   THE ORDINARY OBSERVER

          53.     I understand that Gorham Co. v. White states that the test for infringement of a
          design patent involves whether an “ordinary observer” would find two designs to be
          substantially the same, giving such attention as a purchaser usually gives. I understand
          that any infringement analysis, therefore, must carefully consider the general identity of
          the ordinary observer, and the manner in which they encounter the accused products as
          a potential purchaser. I have found that an experienced Industrial Designer consultant,
          with many years designing a large variety of products, has valuable expertise which is
          particularly helpful in understanding the ordinary observer, and their ability to




   25
      Richardson v. Stanley Works, Inc., 597 F.3d 1288, 1293-94 (Fed. Cir. 2010) (internal citations
   omitted).
   26
      L.A. Gear, Inc. v. Thom McAn Shoe Co., 988 F.2d 1117, 1123 (Fed. Cir. 1993).
   27
      See Best Lock Corp. v. Ilco Unican Corp., 94 F.3d 1563, 1566 (Fed. Cir. 1996) (citation omitted).
   28
      L.A. Gear, 988 F.2d at 1123.
   29
      Rosco, Inc. v. Mirror Lite Co., 304 F.3d 1373, 1378 (Fed. Cir. 2002).
                                                     11
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         determine similarity between designs.

         54.    An Industrial Design consultant is hired by companies to create successful
         designs for new products. To accomplish this goal, it is essential that the Industrial
         Designer understand the intended users or purchasers and their ability to perceive and
         use the product being designed. To develop this ability, an Industrial Designer is trained
         in techniques used to gain insight and understanding into users’ or purchasers’ needs
         and desires related to the product being designed. This ability is further developed over
         time as a designer gains experience designing products.

         55.     Techniques a designer uses to understand the intended user or purchaser may
         include observational design research, direct design research, and secondary research.
         Observational Research involves the designer observing a user or purchaser, and his or
         her environment, usually as they are examining, purchasing, and using the product
         being designed. Direct design research involves the designer directly engaging with the
         user or purchaser to learn their desires, motivations, sensitivities, and prejudices
         regarding the product at hand. Secondary design research involves research into
         existing data that may shed light onto the user’s or purchaser’s relationship to the
         product at hand. As user or purchaser insights are gained, the designer uses techniques
         to document, communicate, and experience these insights. The goal is often to create
         an accurate hypothetical model of the user or purchaser of the product at hand that the
         designer can use during the design process.

         56.    I have found that over time, by applying the tools and methodologies described
         above, an Industrial Design consultant gains insight and sensitivity into the behavior of
         consumers for which they are designing products. This experience may allow an
         experienced designer to forego formal design research and directly apply their
         experience in understanding the consumer directly in the design process. This
         experience is often the reason why companies employ consulting Industrial Designers or
         Design Firms.

         57.     The cumulative experience in understanding user and purchaser behavior I have
         obtained over 30 years as an Industrial Design consultant gives me the necessary
         expertise to opine regarding an ordinary observer’s ability to recognize substantial
         similarity between two products.




                                                 12
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   DESIGNER OF ORDINARY SKILL IN THE ART

         58.    For the purposes of this case, a Designer of Ordinary Skill in the Art (“DOSA”)
         would have a degree in Industrial Design or Mechanical Engineering, and at least two
         years of professional experience creating Industrial Designs of consumer products.




                                                13
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   MULTIVIEW DRAWINGS AND THIRD ANGLE ORTHOGRAPHIC PROJECTION

          59.    A DOSA would be familiar with how a three-dimensional design can be
          communicated by a multi-view drawing using the drafting convention of Orthographic
          Third Angle Projection. A DOSA would be comfortable using Orthographic Third Angle
          Projection to understand and communicate three dimensional designs on a two-
          dimensional plane such as a sheet of paper.

          60.    This standard is commonly used to arrange multiple views, or elevations, such
          that comparisons between views can easily be made and contextual information in one
          view can be used to better understand a different view. This is a standard technique
          used and understood by any competent industrial designer.

          61.   Below is an example of a three-dimensional design visualized through multi-view
          drawings using the drafting convention of Orthographic Third Angle Projection:30




   30
     Gary R. Bertoline, Introduction to Graphic Communication for Engineers (4th Ed.), Figure 2.35,
   (2009).
                                                  14
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          62.    The following diagram describes the principle of third angle orthographic
          projection using a “glass box” metaphor:31




   31
     Gary R. Bertoline, Introduction to Graphic Communication for Engineers (4th Ed.), Figure 3.30
   (2009).
                                                  15
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         63.    Rather than just using individual views of a design patent in isolation, a DOSA
         would understand that by considering all of the figures of a patent collectively in
         orthographic third angle projection, the overall ornamental design claimed could best
         be expressed and appreciated.

         64.    A DOSA would recognize that many of the views in the D’822 and D’317 Patents
         can be used to contextually inform each other in this manner.

         65.     When considering the design claimed in each of D’822 and D’317 Patents, I have
         used the convention of orthographic third angle projection in my analysis to consider
         the overall design being claimed. I have also considered all of the figures of each patent
         collectively in order to understand the overall design being claimed.




                                                 16
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   APPLE WATCH

          66.    Apple Watch, in part due to its innovative, stylish, and distinctive design,
          revolutionized the nascent smart watch market.

          67.     For example, the Wall Street Journal’s review of Apple Watch (shown below32)
          noted that “[o]ne big challenge Apple conquered is making its wrist computer small and
          stylish enough to wear without a nerdy pocket protector.”33

          68.    Similarly, the Verge noted that Apple Watch was “full of new hardware, new
          software, and entirely new ideas about how the worlds of fashion and technology
          should intersect.”34

          69.    Apple released its first Apple Watch in 2015 and has continued to release a new
          generation or “Series” annually.35 In this declaration, I discuss Apple Watch Series 4-8
          and Apple Watch Ultra, shown below:




   32
           Apple       Watch        Series      1      – Technical     Specifications,    Apple,
   https://support.apple.com/kb/sp745?locale=en_US.
   33
      Geoffrey A. Fowler, Apple Watch Review: The Smartwatch Finally Makes Sense, The Wall Street
   Journal (Apr. 8, 2015), https://www.wsj.com/articles/apple-watch-review-the-smartwatch-
   finally-makes-sense-1428494495.
   34
     Nilay      Patel,     Apple     Watch       Review, The     Verge    (Apr.      8,   2015),
   https://www.theverge.com/a/apple-watch-review.
   35
      See, eg., Russell-Clarke Decl. ¶ 3; Jue Decl. ¶ 3.
                                                      17
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          75.    The D’279 patent is assigned to Apple Inc.

          76.   The D’279 patent claims “[t]he ornamental design for an electronic device, as
          shown and described” in the patent.

          77.     The patent includes nine patent figures or drawings. The figures show various
          angles and/or projections—a drawing convention used by designers to show a three-
          dimensional design in two dimensions. This practice allows all the views (or figures) to
          be considered together, and an Industrial Designer would appreciate how each view
          contextually informs the other. By considering all of the views in this manner, the
          overall three-dimensional design can be considered, which is not possible by
          consideration of individual views in isolation. An Industrial Designer would view the
          drawings in this manner to consider the overall claimed ornamental design as a whole.

          78.     Design patents may be published with images that are pixelated, sometimes
          making the distinction between solid and broken lines less clear. Throughout this
          declaration, I have considered the D’279 patent’s drawings at the size and resolution as
          they appear in the patent publication, which is attached to this report as Exhibit 3, as
          well as high resolution images of the D’279 patent’s drawings that were examined and
          granted by the USPTO, which are attached as Exhibit 4.38 To explain my analysis and
          findings in this report, I have included images that have been magnified or reduced in
          size, cropped, juxtaposed, colored and/or annotated. These images are only provided to
          describe the specific issue being addressed at that point and are not offered to replace
          or bolster the D’279 patent’s drawings.

          79.    Figure 1 is a bottom front perspective view of an electronic device showing the
          claimed design. Figure 2 is a bottom rear perspective view:




   38
     The as-filed, examined, and granted high resolution images are available at the Supplemental
   Content      tab    of    the    Patent    Center      page    for    the      D’297    Patent:
   https://patentcenter.uspto.gov/applications/29684822/supplementalContent/fileType/Design
   %20Drawings
                                                 21
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                        Apple’s D’842 Patent


         85.    The D’842 patent is a design patent titled “Electronic Device,” the front page of
         which is shown below:




                                       D’842 Patent, Front Page

         86.     The D’842 patent was filed on November 18, 2021 and issued on April 5, 2022. It
         is a continuation of Application No. 29/780,292, filed on April 23, 2021, now U.S. Patent
         No. D’949,146, which is a continuation of No. 29/684,825, filed on March 25, 2019, now
         U.S. Patent No. D917,470, which is a continuation of Application No. 29/654,754, filed
         on June 27, 2018, now U.S. Patent No. D882,563.

         87.      The D’842 patent lists the following inventors: Jody Akana, Molly Anderson,
         Bartley K. Andre, Shota Aoyagi, Anthony Michael Ashcroft, Marine C. Bataille, Jeremy
         Bataillou, Markus Diebel, M. Evans Hankey, Julian Hoenig, Richard P. Howarth, Jonathan
         P. Ive, Julian Jaede, Duncan Robert Kerr, Peter Russell-Clarke, Benjamin Andrew Shaffer,
         Mikael Silvanto, Sung-Ho Tan, Clement Tissandier, Eugene Antony Whang, and Rico
         Zörkendörfer.

                                                 25
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          88.    The D’842 patent is assigned to Apple Inc.

          89.   The D’842 patent claims “[t]he ornamental design for an electronic device, as
          shown and described” in the patent.

          90.    The patent includes nine patent figures or drawings. As described in paragraph
          77 above, the figures show various angles and/or projections such that an Industrial
          Designer could and would view the drawings together to consider the overall claimed
          ornamental design as a whole.

          91.     Design patents may be published with images that are pixelated, sometimes
          making the distinction between solid and broken lines less clear. Throughout this
          declaration, I have considered the D’842 patent’s drawings at the size and resolution as
          they appear in the patent publication, which is attached to this report as Exhibit 5, as
          well as high resolution images of the D’842 patent’s drawings, that were examined and
          granted by the USPTO, which are attached as Exhibit 6. To explain my analysis and
          findings in this report, I have included images that have been magnified or reduced in
          size, cropped, juxtaposed, colored and/or annotated. These images are only provided to
          describe the specific issue being addressed at that point and are not offered to replace
          or bolster the D’842 patent’s drawings.39

          92.    Figure 1 is a bottom front perspective view of an electronic device showing the
          claimed design. Figure 2 is a bottom rear perspective view:




   39
     The as-filed, examined, and granted high resolution images are available at the Supplemental
   Content      tab    of    the    Patent    Center      page    for    the      D’842    Patent:
   https://patentcenter.uspto.gov/applications/29816024/supplementalContent/fileType/Design
   %20Drawings
                                                 26
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   CERTAIN APPLE WATCHES EMBODY THE WATCH PATENTS

          111. I have analyzed whether Apple Watch embodies the designs protected by the
          Watch Patents. I examined physical samples of Apple Watch Series 4, Series 5, and
          Series 8 and images thereof, as well as images of the remaining Series of Apple Watch.

                        Apple Watch Series 4 and 5 Embody The D’279 Patent Design


          112. Based on my analysis, Apple Watch Series 4 and Series 541 embody the design
          protected by the D’279 patent.

          113. For example, the comparison shows that Apple Watch embodies the various
          design elements that give the D’279 patent its unique appearance, including, on the rear
          of the watch:

                 a. A protruding circular element having a concentric circular arrangement with
                 a beveled edge, contained within an outermost circle (labelled “A” below);

                 b. Two semi-circular arches, together forming an outer broken-circular shape,
                 each semi-circular arch arching across half of that circular arrangement (labelled
                 “B” below);

                 c. Moving toward the center of the circular arrangement, spaced apart from
                 the outer broken-circular shape, eight four-sided shapes aligned to form an inner
                 broken-circular shape smaller in diameter than the outer broken-circular shape
                 (labelled “C” below);

                 d. Moving further toward the center of the circular arrangement, spaced apart
                 from the inner broken-circular shape, a central circular shape (labelled “D”
                 below); and

                 e. A transparent, domed shape protruding out from the rear of the watch
                 (labelled “E” below):




   41
     Throughout this section, I refer to “Apple Watch” and include images of Apple Watch Series 5,
   but my analysis regarding the D’279 patent applies equally regarding Apple Watch Series 4. See
   ¶ 69 supra (showing Apple Watch designs, including Series 4 and 5).
                                                  35
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          114. When the overall ornamental designs of Apple Watch and the D’279 patent are
          compared, the overarching similarities make the overall impression of the Apple Watch
          substantially similar to the D’279 patent design.

          115. Based on my analysis, Apple Watch Series 4 and 5 embody the design protected
          by the D’279 patent.

                        Apple Watch Series 4 and 5 Embody The D’842 Patent Design


          116. Based on my analysis, Apple Watch Series 4 and Series 542 embody the design
          protected by the D’842 patent.

          117. For example, the comparison shows that Apple Watch embodies the various
          design elements that give the D’842 patent its unique appearance, including, on the rear
          of the watch:

                 a. A protruding circular element having a concentric circular arrangement,
                 contained within an outermost circle (labelled “A” below);

                 b. Two semi-circular arches, together forming an outer broken-circular shape,
                 each semi-circular arch arching across half of that circular arrangement (labelled

   42
     Throughout this section, I refer to “Apple Watch” and include images of Apple Watch Series 5,
   but my analysis regarding the D’842 patent applies equally regarding Apple Watch Series 4. See
   ¶ 69 supra (showing Apple Watch designs, including Series 4 and 5).
                                                  36
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                “B” below); and

                c. Moving toward the center of the circular arrangement, spaced apart from
                the outer broken-circular shape, eight four-sided shapes aligned to form an inner
                broken-circular shape smaller in diameter than the outer broken-circular shape
                (labelled “C” below).




         118. When the overall ornamental designs of Apple Watch and the D’842 patent are
         compared, the overarching similarities make the overall impression of the Apple Watch
         substantially similar to the D’842 patent design.

         119. Based on my analysis, Apple Watch Series 4 and 5 embody the design protected
         by the D’842 patent.




                                               37
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                        Apple Watch Series 4-8 and Apple Watch Ultra Embody The D’936

                        Patent Design


          120. Based on my analysis, Apple Watch Series 4, 5, 6, 7, 8, and Apple Watch Ultra43
          embody the design protected by the D’936 patent.

          121. For example, the comparison shows that Apple Watch embodies the various
          design elements that give the D’936 patent its unique appearance, including, on the rear
          of the watch:

                 a. A protruding circular element having a circular arrangement, contained
                 within an outermost circle (labelled “A” below); and

                 b. Two semi-circular arches, together forming an outer broken-circular shape,
                 each semi-circular arch arching across half of that circular arrangement (labelled
                 “B” below).




   43
     Throughout this section, I refer to “Apple Watch” and include images of Apple Watch Series 8,
   but my analysis regarding the D’936 patent applies equally regarding Apple Watch Series 4-7 and
   Apple Watch Ultra. See ¶ 69 supra (showing Apple Watch designs, including Apple Watch Series
   4-7 and Apple Watch Ultra).
                                                  38
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         122. When the overall ornamental designs of Apple Watch and the D’936 patent are
         compared, the overarching similarities make the overall impression of the Apple Watch
         substantially similar to the D’936 patent design.

         123. Based on my analysis, Apple Watch Series 4-8 and Apple Watch Ultra embody
         the design protected by the D’936 patent.




                                               39
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   MASIMO’S W1 WATCH

         124. I purchased the accused Masimo W1 watch for my infringement analysis, shown
         below.




                                       Masimo W1 watch




         125. The sample is shown below, in photos I took in my studio. The views were taken
         to correspond to figures of the Watch Patents, for ease of comparison:




                                              40
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   COMPARING APPLE WATCH’S AND W1’S MATERIAL FINISHES

          126. As mentioned above, I purchased and examined samples of Apple Watch and
          Masimo’s W1. Apple Watch’s finishes are highly sophisticated, rivaling what a consumer
          would expect from a piece of jewelry. I understand that Apple Watch uses high-quality
          materials such as aluminum, stainless steel, ceramics, and sapphire crystal. For
          example, the back of Apple Watch is made from black ceramic and sapphire crystal.44
          The housing varies by Series but has been made available in finishes such as aluminum,
          stainless steel, titanium, and ceramic.45

          127. The W1’s design details, materials, and finishes do not appear to have the same
          sophisticated and premium appearance as found on the various models of Apple Watch.
          Instead of having an expensive jewelry-like quality like Apple Watch, the W1’s materials
          and finish are more pedestrian, in line with what a consumer might expect from a tech
          gadget or exercise/fitness monitor. The Apple Watch design appears chic, while the W1
          appears functional and suited for its intended task.




   44
         See, e.g., Apple Watch Series 8 – Technical Specifications, Apple,
   https://support.apple.com/kb/SP878?locale=en_US (Series 8); Apple Watch Ultra – Technical
   Specifications, Apple, https://support.apple.com/kb/SP879?locale=en_US (Ultra); Apple Watch
   Series 5 – Technical Specifications, Apple, https://support.apple.com/kb/SP808?locale=en_US
   (Series     5);   Apple     Watch     Series     4     –    Technical   Specifications,  Apple,
   https://support.apple.com/kb/SP778?locale=en_US (Series 4).
   45
         See, e.g., Apple Watch Series 8 – Technical Specifications, Apple,
   https://support.apple.com/kb/SP878?locale=en_US (Series 8 available in aluminum and stainless
   steel);      Apple       Watch      Ultra       –        Technical    Specifications,    Apple,
   https://support.apple.com/kb/SP879?locale=en_US (Ultra available in titanium); Apple Watch
   Series 5 – Technical Specifications, Apple, https://support.apple.com/kb/SP808?locale=en_US
   (Series 5 available in aluminum, stainless steel, titanium, and ceramic); Apple Watch Series 4 –
   Technical Specifications, Apple, https://support.apple.com/kb/SP778?locale=en_US (Series 4
   available in aluminum and stainless steel).
                                                   42
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   INFRINGEMENT ANALYSIS OF THE MASIMO W1 WATCH

          128. As described above in paragraphs 35-37, I understand that, under the “ordinary
          observer test,” “if, in the eye of an ordinary observer, giving such attention as a
          purchaser usually gives, two designs are substantially the same, if the resemblance is
          such as to deceive such an observer, inducing him to purchase one supposing it to be
          the other, the first one patented is infringed by the other.” In applying the ordinary
          observer test, I compared the Masimo W1’s accused design to the three Watch Patents’
          claimed designs. I considered all the figures from each particular patent together as a
          whole, including through a multi-view Orthographic Third Angle Projection I created
          based on those figures, which allows the claimed ornamental design as a whole to be
          compared to a physical sample of the W1. I also considered each Watch Patent’s figures
          individually in a side-by-side comparison to corresponding images of Masimo W1—i.e.,
          images showing a similar perspective or angle as shown in the individual patent figures,
          for ease of comparison.

          129. Upon completion of that comparison, I found that an ordinary observer would
          find the accused W1 design is substantially similar—thus, not plainly dissimilar—from
          the Watch Patents’ claimed designs, as described further below. Accordingly, following
          the guidance provided in Egyptian Goddess, I compared the accused and claimed
          designs in light of the prior art. For ease of explanation in this declaration, I selected an
          exemplary piece of prior art that is cited on the faces of the Watch Patents: U.S. Patent
          No. D728,624 (the “D’624 patent, attached as Exhibit 9”).46 The D’624 patent is a design
          patent titled “Electronic Device” and that claims “[t]he ornamental design for an
          electronic device, as shown and described” in the patent. It was filed on August 11,
          2014 and issued on May 5, 2015. After that comparison, I found that the similarities
          between the Watch Patents’ designs and the W1’s design, and their conspicuous
          departure from the prior art, further demonstrate that the ordinary observer would
          regard the W1 design as substantially similar to the claimed Watch Patents’ designs, as
          described further below.

          130. Additionally, because the design of the Watch Patents and of various Series of
          patentee’s Apple Watch are substantially the same, as described in paragraphs 110-123
          above, I also compared Apple Watch embodiments of the claimed designs to the
          Masimo W1’s accused design—through an examination of physical Apple Watches as

   46
     I selected the D’624 patent because, looking at the prior art cited on the faces of the Watch
   Patents, it was among the closest designs to the Watch Patents’ designs. I made that choice to
   be conservative in my analysis—the ordinary observer would be conversant with all prior art,
   including prior art with differences even more exaggerated in nature that the D’624 patent.
                                                  43
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         well as images thereof.

         131. In some circumstances I have annotated the comparisons to visually describe
         aspects of my analysis. My focus has been the comparison of the overall design as a
         whole as claimed by the Watch Patents with the design of W1. Any images or
         description using a single particular view or figure from the design patent and/or the
         accused product is to illustrate a specific point and should not diminish the importance
         of considering the overall claimed design.

         132. In each of those comparisons, described further below, I employed my expertise
         in designing products for consumers and users to consider how an Ordinary Observer,
         giving such attention as a purchaser usually gives, would compare the Accused Product
         to the claimed Watch Patent designs, and whether they would find the designs to be
         substantially the same, such that the resemblance would deceive them to purchase one
         supposing it to be the other.

         133. My descriptions and comparisons of the designs are simply an explanation of my
         findings comparing the overall designs. It is not intended as, or should be taken as, a
         points of novelty analysis. At all times my infringement analysis has considered the
         asserted and accused designs as a whole.

         134. In some circumstances I have annotated the comparisons to visually describe
         aspects of my analysis. My focus has been the comparison of the overall design as a
         whole as claimed by the Watch Patents with the design of W1. Any images or
         description using a single particular view or figure from the design patent and/or the
         accused product is to illustrate a specific point and should not diminish the importance
         of considering the overall claimed design.

                       The D’279 Patent


                               Comparison with the D’279 Patent

         135. I have compared the design claimed by the D’279 patent with the accused
         Masimo W1 watch. The following comparison shows Figures 1 and 2 compared with
         corresponding views of the Masimo W1 watch:




                                                44
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         136. As part of my analysis, I considered all the figures from the D’279 patent
         together as a whole, including through a multi-view Orthographic Third Angle Projection
         I created based on those figures, which allows the claimed ornamental design as a
         whole to be compared to a physical sample of the W1, as shown below:




                                               45
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Case 1:22-cv-01377-MN-JLH Document 51-3 Filed 02/10/23 Page 68 of 186 PageID #: 6300
Case 1:22-cv-01377-MN-JLH Document 51-3 Filed 02/10/23 Page 69 of 186 PageID #: 6301
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         explain my process and findings and could and would testify thereto if called upon to do
         so. I have included figures from the D’279 patent and images of the W1 at
         corresponding views for ease of comparison.

         140. Based on my analysis, the W1 appropriates the various design elements that give
         the D’279 patent its unique appearance, including, on the rear of the watch:

                a. A protruding circular element having a concentric circular arrangement with
                a beveled edge, contained within an outermost circle (labelled “A” below);

                b. Two semi-circular arches, together forming an outer broken-circular shape,
                each semi-circular arch arching across half of that circular arrangement (labelled
                “B” below);

                c. Moving toward the center of the circular arrangement, spaced apart from
                the outer broken-circular shape, eight four-sided shapes aligned to form an inner
                broken-circular shape smaller in diameter than the outer broken-circular shape
                (labelled “C” below);

                d. Moving further toward the center of the circular arrangement, spaced apart
                from the inner broken-circular shape, a central circular shape (labelled “D”
                below); and

                e. A transparent, domed shape protruding out from the rear of the watch
                (labelled “E” below):




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             141. All of those similarities make the overall impressions of the D’279 patent and W1
             designs substantially similar to an ordinary observer.

             142. The only noticeable differences between the two designs are: (1) instead of
             having eight four-sided shapes aligned to form a broken-circular shape, it has six (“C”
             above); (2) instead of a single circular element at the center of the circular layout,
             Masimo split the central element into two semi-circles placed to, together, form a
             broken-oval shape (“D” above); and (3) instead of the domed shape being a single
             surface, it has a cover (“E” above) that aligns with the two semicircular arches (“B”
             above), still creating an overall protruding domed shape to the circular rear layout.

             143. These differences do not change my opinion. They do not give the design of the
             W1 a visual impression that would readily allow an ordinary consumer to differentiate
             its design as distinct from the D’279 patent design. The W1 is, at a minimum, still a
             “colorable imitation” of the D’279 patent design and infringes.47

                                   Comparison in Light of the Prior Art

             144. As described in paragraphs 135-143 above, the claimed D’279 patent design and
             the accused W1 design are substantially similar—and they are not “plainly dissimilar.” I
             understand that the ordinary observer might find that comparison of the claimed and
             accused designs would benefit from consideration and comparison to the prior art.
             Accordingly, as part of my analysis, I considered the D’279 patent design, the accused

   47
        35 U.S.C. § 289.
                                                     51
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Case 1:22-cv-01377-MN-JLH Document 51-3 Filed 02/10/23 Page 74 of 186 PageID #: 6306




         147. Those similarities between the D’279 patent design and the W1 design, and their
         conspicuous departure from the prior art, further demonstrate that the ordinary
         observer would regard the W1 design as substantially similar to the claimed D’279
         patent design.




                                              53
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                                Comparison Between Apple Watch and W1 Further
                                Demonstrates Masimo’s Infringement Of The D’279 Patent

          148. As described in paragraphs 112-115 above, Apple Watch Series 4 and Series 548
          embody the design protected by the D’279 patent and in that scenario, it is permissible
          to compare Apple’s commercial embodiment with the accused W1.

          149. Based on my analysis, the comparison of Apple Watch to the W1 further
          demonstrates and confirms that Masimo infringes the D’279 patent with the W1.

          150. For example, the comparison shows that the W1 appropriates the various design
          elements that give the Apple Watches embodying the D’279 patent their unique
          appearance, including, on the rear of the watch:

                 a. A protruding circular element having a concentric circular arrangement with
                 a beveled edge, contained within an outermost circle (labelled “A” below);

                 b. Two semi-circular arches, together forming an outer broken-circular shape,
                 each semi-circular arch arching across half of that circular arrangement (labelled
                 “B” below);

                 c. Moving toward the center of the circular arrangement, spaced apart from
                 the outer broken-circular shape, multiple four-sided shapes aligned to form an
                 inner broken-circular shape smaller in diameter than the outer broken-circular
                 shape (labelled “C” below); and

                 d. Moving further toward the center of the circular arrangement, spaced apart
                 from the inner broken-circular shape, a central circular shape (labelled “D”
                 below); and

                 e. A transparent, domed shape protruding out from the rear of the watch
                 (labelled “E” below).




   48
     Throughout this section, I refer to “Apple Watch” and include images of Apple Watch Series 5,
   but my analysis regarding the D’279 patent applies equally regarding Apple Watch Series 4. See
   ¶ 69 supra (showing Apple Watch designs, including Series 4 and 5).
                                                  54
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         151. When the overall ornamental designs of the Apple Watch embodying the D’279
         patent design and the W1 are compared, the overarching similarities would cause an
         ordinary observer to be deceived because they are substantially the same.

         152. The only noticeable differences between the two designs are as described in
         paragraph 142 above.

         153. As described in paragraph 143 above, these differences do not change my
         opinion.

         154. I understand that Masimo has asserted that there are additional differences
         between Apple Watch and the W1, including asserting that:

                a. “Apple Watch has a round crown, ‘winder’ type button, and a flush button
                whereas the W1® has a classic computer on the wrist appearance”;

                b. “Apple Watch and W1® have a different band design”;

                c. “Bands for the Apple Watch and W1® have a different attachment
                mechanism”;

                d. “Apple Watch includes text surrounding the circular sensor whereas the W1®
                does not”; and

                e. “Apple Watch includes three gray circles whereas the W1® does not.”
                                              55
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         155. None of those alleged differences are claimed elements of the D’279 design.
         Further, none of those alleged differences have a notable presence in view of the
         claimed design elements. For example, both Apple Watch and the W1 have two buttons
         along the right side of the watch. Apple Watch having one round “crown” button and
         one oblong button, while the W1 has two oblong buttons, would not be such a striking
         difference so as to prevent the ordinary observer from being deceived by the W1’s
         design, and thus the ordinary observer would see it as embodying the D’279 design. As
         another example, band attachment style is not readily apparent from the ornamental
         design, nor is watch band style notable when considering the design of the watch itself.
         Further, the circular text and “gray circles” present on Apple Watch are not at the
         forefront of the design, not only are they subdued in appearance, but they also follow
         the concentric circular layout of the design. Their absence from the W1 would not be so
         notable as to prevent the ordinary observer from finding the designs substantially
         similar.

         156. Accordingly, based on my analysis, the comparison of Apple Watch to the W1
         further demonstrates and confirms that Masimo infringes the D’279 patent with the
         W1.

                       The D’842 Patent


                               Comparison with the D’842 Patent

          157. I have compared the design claimed by the D’842 patent with the accused
          Masimo W1 watch. The following comparison shows Figures 1 and 2 compared with
          corresponding views of the Masimo W1 watch:




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Case 1:22-cv-01377-MN-JLH Document 51-3 Filed 02/10/23 Page 79 of 186 PageID #: 6311
Case 1:22-cv-01377-MN-JLH Document 51-3 Filed 02/10/23 Page 80 of 186 PageID #: 6312
Case 1:22-cv-01377-MN-JLH Document 51-3 Filed 02/10/23 Page 81 of 186 PageID #: 6313
Case 1:22-cv-01377-MN-JLH Document 51-3 Filed 02/10/23 Page 82 of 186 PageID #: 6314




         so. I have included figures from the D’842 patent and images of the W1 at
         corresponding views for ease of comparison.

         162. Based on my analysis, the W1 appropriates the various design elements that give
         the D’842 patent its unique appearance, including, on the rear of the watch:

                a. A protruding circular element having a concentric circular arrangement,
                contained within an outermost circle (labelled “A” below);

                b. Two semi-circular arches, together forming an outer broken-circular shape,
                each semi-circular arch arching across half of that circular arrangement (labelled
                “B” below); and

                c. Moving toward the center of the circular arrangement, spaced apart from
                the outer broken-circular shape, multiple four-sided shapes aligned to form an
                inner broken-circular shape smaller in diameter than the outer broken-circular
                shape (labelled “C” below).




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                                         62
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             163. All of those similarities make the overall impressions of the D’842 patent and W1
             designs substantially similar to an ordinary observer.

             164. The only noticeable difference between the two designs is instead of having
             eight four-sided shapes aligned to form a broken-circular shape, it has six (“C” above).

             165. That difference does not change my opinion. The difference does not give the
             design of the W1 a visual impression that would readily allow an ordinary consumer to
             differentiate its design as distinct from the D’842 patent design. The W1 is, at a
             minimum, still a “colorable imitation” of the D’842 patent design and infringes.49

                                   Comparison in Light of the Prior Art

             166. As described in paragraphs 157-165 above, the claimed D’842 patent design and
             the accused W1 design are substantially similar—and they are not “plainly dissimilar.” I
             understand that the ordinary observer might find that comparison of the claimed and
             accused designs would benefit from consideration and comparison to the prior art.
             Accordingly, as part of my analysis, I considered the D’842 patent design, the accused
             W1 design, and prior art together, using the prior art D’624 patent as an example.

             167. Based on my analysis, the designs of the D’842 patent and W1 are much more
             similar to each other than to the prior art, which further demonstrates that the ordinary


   49
        35 U.S.C. § 289.
                                                     63
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         169. Those similarities between the D’842 patent design and the W1 design, and their
         conspicuous departure from the prior art, further demonstrate that the ordinary
         observer would regard the W1 design as deceptively similar to the claimed D’842 patent
         design.




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                                Comparison Between Apple Watch and W1 Further
                                Demonstrates Masimo’s Infringement Of The D’842 Patent

          170. As described in paragraphs 116-119 above, Apple Watch Series 4 and Series 550
          embody the design protected by the D’842 patent and in that scenario, it is permissible
          to compare Apple’s commercial embodiment with the accused W1.

          171. Based on my analysis, the comparison of Apple Watch to the W1 further
          demonstrates and confirms that Masimo infringes the D’842 patent with the W1.

          172. For example, the comparison shows that the W1 appropriates the various design
          elements that give the Apple Watches embodying the D’842 patent their unique
          appearance, including, on the rear of the watch:

                 a. A protruding circular element having a concentric circular arrangement,
                 contained within an outermost circle (labelled “A” below);

                 b. Two semi-circular arches, together forming an outer broken-circular shape,
                 each semi-circular arch arching across half of that circular arrangement (labelled
                 “B” below); and

                 c. Moving toward the center of the circular arrangement, spaced apart from
                 the outer broken-circular shape, multiple four-sided shapes aligned to form an
                 inner broken-circular shape smaller in diameter than the outer broken-circular
                 shape (labelled “C” below).




   50
     Throughout this section, I refer to “Apple Watch” and include images of Apple Watch Series 5,
   but my analysis regarding the D’279 patent applies equally regarding Apple Watch Series 4. See
   ¶ 69 supra (showing Apple Watch designs, including Series 4 and 5).
                                                  66
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         173. When the overall ornamental designs of the Apple Watch embodying the D’842
         patent design and the W1 are compared, the overarching similarities would cause an
         ordinary observer to be deceived because they are substantially the same.

         174. The only noticeable difference between the two designs is as described in
         paragraph 164 above.

         175. As described in paragraph 165 above, these differences do not change my
         opinion.

         176. I understand that Masimo has asserted that there are additional differences
         between Apple Watch and the W1 that are not claimed, including:

                a. instead of a single circular element at the center of the circular layout,
                Masimo split the central element into two semi-circles placed to, together, form
                a broken-oval shape;

                b. instead of the domed shape being a single surface, it has a cover that aligns
                with the two semicircular arches, still creating an overall protruding domed
                shape to the circular rear layout;

                c. “Apple Watch has a round crown, ‘winder’ type button, and a flush button
                whereas the W1® has a classic computer on the wrist appearance”;

                                                 67
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                d. “Apple Watch and W1® have a different band design”;

                e. “Bands for the Apple Watch and W1® have a different attachment
                mechanism”;

                f. “Apple Watch includes text surrounding the circular sensor whereas the W1®
                does not”; and

                g. “Apple Watch includes three gray circles whereas the W1® does not.”
         177. None of those alleged differences are claimed elements of the D’842 design.
         Further, for the reasons described regarding the D’279 patent design in paragraph 155
         above, none of those alleged differences have a notable presence in view of the claimed
         design elements of the D’842 patent so as to prevent the ordinary observer from finding
         the designs substantially similar—the ordinary observer would see the W1 as
         embodying the D’842 design.

         178. Accordingly, based on my analysis, the comparison of Apple Watch to the W1
         further demonstrates and confirms that Masimo infringes the D’842 patent with the
         W1.

                        The D’936 Patent


         179. Based on my analysis, I conclude that Masimo’s making, using, selling, and/or
         offering for sale within the United States, and/or importing into the United States, the
         W1 infringes the D’936 patent. I explain this opinion in detail below.

                                 Comparison with the D’936 Patent

          180. I have compared the design claimed by the D’936 patent with the accused
          Masimo W1 watch. The following comparison shows Figures 1 and 2 compared with
          corresponding views of the Masimo W1 watch:




                                                 68
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         181. As part of my analysis, I considered all the figures from the D’936 patent
         together as a whole, including through a multi-view Orthographic Third Angle Projection
         I created based on those figures, which allows the claimed ornamental design as a
         whole to be compared to a physical sample of the W1, as shown below:




                                               69
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Case 1:22-cv-01377-MN-JLH Document 51-3 Filed 02/10/23 Page 92 of 186 PageID #: 6324
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         corresponding views for ease of comparison.

         185. Based on my analysis, the W1 appropriates the various design elements that give
         the D’936 patent its unique appearance, including, on the rear of the watch:

                a. A protruding circular element having a circular arrangement, contained
                within an outermost circle (labelled “A” below); and

                b. Two semi-circular arches, together forming an outer broken-circular shape,
                each semi-circular arch arching across half of that circular arrangement (labelled
                “B” below).




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                                         74
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             186. All of those similarities make the overall impressions of the D’936 patent and W1
             designs substantially similar to an ordinary observer.

             187. An ordinary observer would not find any noticeable differences between the two
             designs.

             188. Any minor differences do not change my opinion. They do not give the design of
             the W1 a visual impression that would readily allow an ordinary consumer to
             differentiate its design as distinct from the D’936 patent design. The W1 is, at a
             minimum, still a “colorable imitation” of the D’936 patent design and infringes.51

                                   Comparison in Light of the Prior Art

             189. As described in paragraphs 180-188 above, the claimed D’936 patent design and
             the accused W1 design are substantially similar—and they are not “plainly dissimilar.” I
             understand that the ordinary observer might find that comparison of the claimed and
             accused designs would benefit from consideration and comparison to the prior art.
             Accordingly, as part of my analysis, I considered the D’936 patent design, the accused
             W1 design, and prior art together, using the prior art D’624 patent as an example.

             190. Based on my analysis, the designs of the D’936 patent and W1 are much more
             similar to each other than to the prior art, which further demonstrates that the ordinary


   51
        35 U.S.C. § 289.
                                                    75
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         192. Those similarities between the D’936 patent design and the W1 design, and their
         conspicuous departure from the prior art, further demonstrate that the ordinary
         observer would regard the W1 design as deceptively similar to the claimed D’936 patent
         design

                              Comparison Between Apple Watch and W1 Further
                              Demonstrates Masimo’s Infringement Of The D’936 Patent

         193.   As described in paragraphs 120-123 above, Apple Watch Series 4, 5, 6, 7, 8, and



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          Apple Watch Ultra52 embody the design protected by the D’936 patent and in that
          scenario, it is permissible to compare Apple’s commercial embodiment with the accused
          W1.

          194. Based on my analysis, the comparison of Apple Watch to the W1 further
          demonstrates and confirms that Masimo infringes the D’936 patent with the W1.

          195. For example, the comparison shows that the W1 appropriates the various design
          elements that give the Apple Watches embodying the D’936 patent their unique
          appearance, including, on the rear of the watch:

                 a. A protruding circular element having a circular arrangement, contained
                 within an outermost circle (labelled “A” below); and

                 b. Two semi-circular arches, together forming an outer broken-circular shape,
                 each semi-circular arch arching across half of that circular arrangement (labelled
                 “B” below).




   52
     Throughout this section, I refer to “Apple Watch” and include images of Apple Watch Series 8,
   but my analysis regarding the D’936 patent applies equally regarding Apple Watch Series 4-7 and
   Apple Watch Ultra. See ¶ 69 supra (showing Apple Watch designs, including Apple Watch Series
   4-7 and Apple Watch Ultra).
                                                  78
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                                    6332




       196. When the overall ornamental designs of the Apple Watch embodying the D’936
       patent design and the W1 are compared, the overarching similarities would cause an
       ordinary observer to be deceived because they are substantially the same.

       197. An ordinary observer would not find any noticeable differences between the two
       designs as described in paragraph 187 above.

       198. As described in paragraph 188 above, any minor differences do not change my
       opinion.

       199. I understand that Masimo has asserted that there are additional differences
       between Apple Watch and the W1 that are not claimed, including:

              a. instead of having eight four-sided shapes aligned to form a broken-circular
              shape, it has six;

              b. instead of a single circular element at the center of the circular layout,
              Masimo split the central element into two semi-circles placed to, together, form
              a broken-oval shape;

              c. instead of the domed shape being a single surface, it has a cover that aligns
              with the two semicircular arches, still creating an overall protruding domed
              shape to the circular rear layout;

              d. “Apple Watch has a round crown, ‘winder’ type button, and a flush button
                                               79
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                                    6333



              whereas the W1® has a classic computer on the wrist appearance”;

              e. “Apple Watch and W1® have a different band design”;

              f. “Bands for the Apple Watch and W1® have a different attachment
              mechanism”;

              g. “Apple Watch includes text surrounding the circular sensor whereas the W1®
              does not”; and

              h. “Apple Watch includes three gray circles whereas the W1® does not.”
       200. None of those alleged differences are claimed elements of the D’936 design.
       Further, for the reasons described regarding the D’279 patent design in paragraph 155
       above, none of those alleged differences have a notable presence in view of the claimed
       design elements of the D’936 patent so as to prevent the ordinary observer from finding
       the designs substantially similar—the ordinary observer would see the W1 as
       embodying the D’936 design.

       201. Accordingly, based on my analysis, the comparison of Apple Watch to the W1
       further demonstrates and confirms that Masimo infringes the D’936 patent with the
       W1.




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                                    6334



 THE ASSERTED PATENTS ARE NOT INVALID

                          The D’279 Patent Is Not Invalid


                                  The D’279 Patent Is Not Invalid in Light Of Prior Art

           202. As described above in paragraphs 144-147 above, the D’279 patent claims a
           design that departs conspicuously from, and is not anticipated by, the prior art.

           203. I am not aware of any contentions by Masimo that the D’279 patent is obvious
           based on any particular prior art reference or references. Additionally, I understand that
           Mr. James Malackowski is addressing secondary considerations of non-obviousness
           regarding the Watch Patents’ validity, such as commercial success, industry praise, and
           copying.

                                  The D’279 Patent Is Not Invalid for Functionality

           204. I understand that Masimo has asserted that the D’279 patent should be
           invalidated for claiming functional, non-ornamental designs, citing to the ’282
           application, ’912 publication, ’211 patent, and related testimony. Specifically, Masimo
           claims that the D’279 patent should be invalid due to alleged functionality of the
           “convex protrusion, the arc-shaped ECG sensors, and the photodiodes.”53 I disagree.

           205. As described in paragraphs 50-52 above, I understand that just because an
           element of a design may also be practiced by a particular product in a way that serves a
           functional purpose, that does not mean that the specific design of the element is
           dictated by functional considerations. Rather, I understand that a design is not dictated
           by its function when alternative designs for the article of manufacture are available and
           could produce the same or similar functional capabilities.

           206. I am not offering opinions in this declaration regarding the technical
           requirements of any particular feature. Rather, I have examined available smart
           watches and their advertised features and analyzed their designs. There are numerous
           alternative ways the rear of a smart watch could be designed and have functionality
           such as ECG applications, blood oxygen and heart rate tracking, and wireless charging.54
           In the remainder of this section, I show products that prove these various alternative
           designs exist and are possible. For example, ECG sensors are not required to take the


 53
      Dkt. 31 at 14-21.
 54
      See, e.g., Russell-Clarke Decl. ¶¶ 10-13.
                                                   81
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                                    6335



       specific shape and layout as shown in the D’279 patent’s concentric circle design. They
       could, for example, be oblong or more angular. The photodiodes likewise could take
       many other forms than the multiple four-sided shapes aligned to form a broken-circular
       shape. They could, for example, each be circular or oval, or could be aligned in a non-
       circular layout. Wireless charging and necessary skin contact likewise could be achieved
       by rear watch layouts other than a domed shape. It could be achieved, for example, by
       use of a cylindrical rear shape or a square or rectangular shape with rounded edges.

       207. An examination of other smart watches available on the market further
       demonstrates that designs alternative to the D’279 patent’s design are available that
       provide the same or similar functional capabilities as Apple Watch.

       208. For example, Aries AW80 and P11 Plus have similar sensor-related functions to
       Apple Watch, but do not use the design protected by the D’279 patent:




                                              82
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  P11 Plus56                                                        x   ECG functionality
                                                                        for atrial fibrillation
                                                                        assessment
                                                                    x   Heart rate tracking
                                                                    x   Blood oxygen
                                                                        tracking




 56
  0.96 Inch Health Monitoring Smart Watch P11 Plus ECG+PPG Bracelet Heart Rate Blue tooth
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 Smart_1600315358892.html?spm=a2700.7724857.0.0.7fac6ca930d1xN; ECG PPG P11 Plus
 Smart Band Watch Body Temperature Heart Rate Blood Pressure Oxygen Bracelet IP67


                                             84
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       209. The Aries AW80 does not, for example, include the following design elements
       that are part of the ornamental D’279 patent design and appropriated by W1:

              a. A protruding circular element having a concentric circular arrangement with
              a beveled edge, contained within an outermost circle;

              b. Two semi-circular arches, together forming an outer broken-circular shape,
              each semi-circular arch arching across half of that circular arrangement;

              c. Moving toward the center of the circular arrangement, spaced apart from
              the outer broken-circular shape, multiple four-sided shapes aligned to form an
              inner broken-circular shape smaller in diameter than the outer broken-circular
              shape; or

              d. A transparent, domed shape protruding out from the rear of the watch.
       210. Similarly, the P11 Plus does not, for example, include the following design
       elements that are part of the ornamental D’279 patent design and appropriated by W1:

              a. A protruding circular element having a concentric circular arrangement with



 Waterproof Sport Fitness, AliExpress,
 https://www.aliexpress.us/item/3256801861931242.html?gatewayAdapt=glo2usa4itemAdapt
 &_randl_shipto=US.
                                           85
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                 a beveled edge, contained within an outermost circle;

                 b. Two semi-circular arches, together forming an outer broken-circular shape,
                 each semi-circular arch arching across half of that circular arrangement;

                 c. Moving toward the center of the circular arrangement, spaced apart from
                 the outer broken-circular shape, multiple four-sided shapes aligned to form an
                 inner broken-circular shape smaller in diameter than the outer broken-circular
                 shape; or

                 d. A transparent, domed shape protruding out from the rear of the watch.
          211. Accordingly, based on my analysis, the D’279 patent’s design is not dictated
          solely by its function and therefore the D’279 patent is not invalid.

                         The D’842 Patent Is Not Invalid


                                The D’842 Patent Is Not Invalid in Light Of Prior Art

          212. As described above in paragraphs 166-169 above, the D’842 patent claims a
          design that departs conspicuously from, and is not anticipated by, the prior art.

          213. I am not aware of any contentions by Masimo that the D’842 patent is obvious
          based on any particular prior art reference or references. Additionally, I understand that
          Mr. James Malackowski is addressing secondary considerations of non-obviousness
          regarding the Watch Patents’ validity, such as commercial success, industry praise, and
          copying.

                                The D’842 Patent Is Not Invalid for Functionality

          214. I understand that Masimo has asserted that the D’842 patent should be
          invalidated for claiming functional, non-ornamental designs, citing to the ’282
          application, ’912 publication, ’211 patent, and related testimony. Specifically, Masimo
          claims that the D’842 patent should be invalid due to alleged functionality of the “the
          arc-shaped ECG sensors, and the photodiodes.”57 I disagree.

          215. As described in paragraphs 204-211 above, there are numerous alternative ways
          the rear of a smart watch could be designed and have functionality such as ECG



 57
      Dkt. 31 at 14-21 (Masimo’s Answer and Counterclaims).
                                                86
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           applications and blood oxygen and heart rate tracking.58 See supra paragraphs 204-211.

           216. Also as described in paragraphs 204-211 above regarding the D’279 patent, an
           examination of other smart watches available on the market further demonstrates that
           designs alternative to the D’842 patent’s design are available that provide the same or
           similar functional capabilities as Apple Watch. See supra paragraphs 208-210 (discussing
           Aries AW80 and P11 Plus).

           217. The Aries AW80 does not, for example, include the following design elements
           that are part of the ornamental D’842 patent design and appropriated by W1:

                   a. A protruding circular element having a concentric circular arrangement,
                   contained within an outermost circle;

                   b. Two semi-circular arches, together forming an outer broken-circular shape,
                   each semi-circular arch arching across half of that circular arrangement; or

                   c. Moving toward the center of the circular arrangement, spaced apart from
                   the outer broken-circular shape, multiple four-sided shapes aligned to form an
                   inner broken-circular shape smaller in diameter than the outer broken-circular
                   shape.

           218. Similarly, the P11 Plus does not, for example, include the following design
           elements that are part of the ornamental D’842 patent design and appropriated by W1:

                   a. A protruding circular element having a concentric circular arrangement,
                   contained within an outermost circle;

                   b. Two semi-circular arches, together forming an outer broken-circular shape,
                   each semi-circular arch arching across half of that circular arrangement; or

                   c. Moving toward the center of the circular arrangement, spaced apart from
                   the outer broken-circular shape, multiple four-sided shapes aligned to form an
                   inner broken-circular shape smaller in diameter than the outer broken-circular
                   shape.

           219. Accordingly, based on my analysis, the D’842 patent’s design is not dictated
           solely by its function and therefore the D’842 patent is not invalid.



 58
      See, e.g., Russell-Clarke Decl. ¶¶ 10-13.
                                                   87
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                          The D’936 Patent Is Not Invalid


                                  The D’936 Patent Is Not Invalid in Light Of Prior Art

           220. As described above in paragraphs 189-192, the D’936 patent claims a design that
           departs conspicuously from, and is not anticipated by, the prior art.

           221. I am not aware of any contentions by Masimo that the D’936 patent is obvious
           based on any particular prior art reference or references. Additionally, I understand that
           Mr. James Malackowski is addressing secondary considerations of non-obviousness
           regarding the Watch Patents’ validity, such as commercial success, industry praise, and
           copying.

                                  The D’936 Patent Is Not Invalid for Functionality

           222. I understand that Masimo has asserted that the D’936 patent should be
           invalidated for claiming functional, non-ornamental designs, citing to the ’282
           application, ’912 publication, ’211 patent, and related testimony. Specifically, Masimo
           claims that the D’936 patent should be invalid due to alleged functionality of the “the
           arc-shaped ECG sensors.”59 I disagree.

           223. As described in paragraphs 204-211 above, there are numerous alternative ways
           the rear of a smart watch could be designed and have functionality such as ECG
           applications.60 See supra paragraphs 204-211 .

           224. Also as described in paragraphs 204-211 above regarding the D’279 patent, an
           examination of other smart watches available on the market further demonstrates that
           designs alternative to the D’936 patent’s design are available that provide the same or
           similar functional capabilities as Apple Watch. See supra paragraphs 208-210
           (discussing Aries AW80 and P11 Plus).

           225. The Aries AW80 does not, for example, include the following design elements
           that are part of the ornamental D’936 patent design and appropriated by W1:

                   a. A protruding circular element having a circular arrangement, contained
                   within an outermost circle; or




 59
      Dkt. 31 at 14-21.
 60
      See, e.g., Russell-Clarke Decl. ¶¶ 10-13.
                                                    88
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                         ALAN D. BALL - LIST OF MATERIALS CONSIDERED


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